Case 1:20-cv-01083-JTN-PJG ECF No. 35, PageID.934 Filed 11/19/20 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN

 DONALD J. TRUMP FOR PRESIDENT, INC.,
 MATTHEW, SEELY, ALEXANDRA SEELY,
 PHILIP O’HALLORAN, ERIC OSTERGREN,
 MARIAN SHERIDAN, MERCEDES WIRSING,                         No. 1:20-cv-01083
 and CAMERON TARSA,
                                                            Judge Janet T. Neff
                 Plaintiffs,

   v.

 JOCELYN BENSON, in her official Capacity as
 Michigan Secretary of State, MICHIGAN BOARD
 OF STATE CANVASSERS, WAYNE COUNTY,
 MICHIGAN, and WAYNE COUNTY BOARD OF
 COUNTY CANVASSERS,

                Defendants,

 and

 DEMOCRATIC NATIONAL COMMITTEE,
 MICHIGAN DEMOCRATIC PARTY, CITY OF
 DETROIT, THE MICHIGAN STATE
 CONFERENCE NAACP, WENDELL ANTHONY,
 YVONNE WHITE, and ANDRE WILKES,

                Intervenor-Defendants.

          CITY OF DETROIT’S BRIEF IN SUPPORT OF MOTION TO STRIKE

        In support of its Motion to Strike, the City of Detroit relies on Fed. R. Civ. P. 41(a)(1)(A),

Fed. R. Civ. P. 11, the Court’s inherent authority to manage its own docket, and the cases cited in

the City of Detroit’s Motion to Strike.

 November 19, 2020                             Respectfully submitted,

                                               FINK BRESSACK

                                               By:   /s/ David H. Fink
                                               David H. Fink (P28235)


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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 19, 2020, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system, which will send notification of such

filing to all attorneys of record registered for electronic filing.


                                                        FINK BRESSACK

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